     Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 1 of 14 PageID #: 1



                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

MEREDITH GODOY                                §
f/k/a MERIDITH FONTONET,                      §
                                              §
         Plaintiff,                           §
                                              §       Civil Action No. ________________
VS.                                           §
                                              §
ALLY FINANCIAL, INC.,                         §
                                              §              COMPLAINT
                                              §       With Jury Demand Endorsed
         Defendant.                           §

                                          COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff, Meredith Godoy, f/k/a Meredith Fontonet, ("Plaintiff"), by

counsel, and for her Complaint against the defendant, Ally Financial, Inc. ("Defendant" or

"Ally") states as follows:

                                       I. INTRODUCTION

1.       Plaintiff asserts claims against Defendant for violations of: 1) the Texas Debt Collection

         Act (“TDCA”); 2) the Telephone Consumer Protection Act (“TCPA”); and 3) the

         discharge injunction of the United States Bankruptcy Court of the Eastern District of

         Texas, Sherman Division, and seeks to recover actual, statutory, and punitive damages,

         legal fees and expenses against Defendant.

                                           II. PARTIES

2.       Plaintiff is a natural person residing in Collin County, Texas and she is a "consumer" as

         defined by the TDCA.



                                                  1
     Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 2 of 14 PageID #: 2



3.       The Defendant is a foreign corporation which may be served by sending certified mail to

         its registered agent, CT Corporation System, 1999 Bryan St., Ste. 900, Dallas, TX

         75201-3136.

4.       Defendant is a "debt collector" as defined by Tex. Fin. Code § 392.001(6).

                               III. JURISDICTION AND VENUE

5.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, 1334 and

         1337(a) and 15 U.S.C. § 1681p and 28 U.S.C. §§2201-2202.

6.       Venue in this district is proper because the defendant transacts business in this district,

         Plaintiff filed her bankruptcy in this district and the conduct complained of occurred in

         this district.

                                IV. FACTUAL ALLEGATIONS

7.       On February 13, 2014, Plaintiff commenced the above-styled bankruptcy case

         (“Bankruptcy Case”) by the filing of a voluntary petition under Chapter 7, pursuant to 11

         U.S.C. § 301, and the Order for Relief was effective on the same day, pursuant to 11

         U.S.C. § 301. Plaintiff filed Schedules in her Bankruptcy Case on or about the same

         date, which detailed the claim at issue asserted by Defendant. The claim was listed on

         Schedule “F” of Plaintiff’s bankruptcy schedules filed in her Bankruptcy Case as an

         unsecured claim pertaining to account number 005913629721.

8.       Defendant asserted a pre-petition claim against Plaintiff in an attempt to collect a debt

         allegedly owed by her on the Account. Plaintiff was required to pay money arising out

         of transactions in which money, property, insurance, or services were the subject thereof

         and the same were primarily for personal, family, or household purposes.



                                                  2
     Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 3 of 14 PageID #: 3



9.       On or about February 13, 2014, Plaintiff filed a mailing matrix with this Court in her

         Bankruptcy Case which provided Defendant’s correct address.

10.      On or about February 16, 2014, the Bankruptcy Noticing Center for the Eastern District

         of Texas (“Bankruptcy Court”), mailed out the “Notice of Chapter 7 Bankruptcy Case,

         Meeting of Creditors and Deadlines” to all creditors, including Defendant, and other

         parties based on the mailing matrix previously filed with this Court in Plaintiff’s

         Bankruptcy Case.      This mailing constituted formal notice to Defendant of the

         Bankruptcy Case. This notice warned all creditors, including Defendant, in conspicuous

         language, against violating the automatic stay pursuant to 11 U.S.C. §362. The United

         States Postal Service did not return the notice sent to Defendant. The notice was not

         returned. If the United States Postal Service has not returned the notice, there is a

         presumption that Defendant received the notice mailed to it by the Clerk of the

         Bankruptcy Court.

11.      On May 12, 2014, the Bankruptcy Court issued an order granting Plaintiff a discharge

         ("Discharge Order") (the said order followed Official Form B18, including the

         explanatory language contained therein). The Discharge Order discharged Plaintiff from

         any liability for Defendant’s pre-petition claim at issue. Included with the Discharge

         Order was an explanation of the general injunction prohibiting Defendant and others

         holding pre-petition claims from attempting to collect the claims from Plaintiff.

12.      The Discharge Order was mailed out to all creditors and other parties listed on the

         mailing matrix previously filed with this Court. This mailing constituted formal notice

         of Plaintiff's discharge and the replacement of the automatic stay with the discharge



                                                  3
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 4 of 14 PageID #: 4



      injunction of 11 U.S.C. §524(a). The Discharge Order and notice warned all creditors,

      including Defendant, in conspicuous language, that collection of discharged debts against

      Plaintiff was prohibited. The Discharge Order sent to Defendant was not returned. If

      the United States Postal Service has not returned the Discharge Order sent to Defendant,

      there is a presumption that the Defendant received the notice mailed to it by the Clerk of

      the Bankruptcy Court. A copy of the Discharge Order is attached hereto as Exhibit “A.”

13.   At no time has Defendant objected to or disputed the details of the claim in the Schedules

      filed in Plaintiff’s Bankruptcy Case.

14.   At no time during the pendency of the Bankruptcy Case did Plaintiff reaffirm the debt.

15.   At no time during the pendency of the Bankruptcy Case was Defendant’s pre-petition

      claim declared to be non-dischargeable.

16.   During the pendency of the Bankruptcy Case and following the May 12, 2014 discharge,

      Defendant engaged in debt collection activity against Plaintiff by: (1) repeatedly calling

      her in an effort to collect on the Account, and (2) sending her account statements and

      demands for payment on the discharged debt, as if it was still collectible against Plaintiff.

17.   On May 12, 2014, Defendant sent Plaintiff a letter regarding the Account, complete with

      return envelope and payment coupon, demanding she pay the sum of $11,584.52 or

      contact Defendant to negotiate a reduced settlement amount.

18.   A true and correct copy of the May 12, 2014 letter is attached hereto as Exhibit “B.”

19.   On May 20, 2014, Defendant sent Plaintiff a second letter regarding the Account,

      complete with return envelope and payment coupon, demanding she pay the sum of

      $11,584.52 or contact Defendant to negotiate a reduced settlement amount.



                                                4
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 5 of 14 PageID #: 5



20.   A true and correct copy of the May 20, 2014 letter is attached hereto as Exhibit “C.”

21.   On June 2, 2014, Defendant sent Plaintiff a third letter regarding the Account, complete

      with return envelope and payment coupon, demanding she pay the sum of $11,584.52 or

      contact Defendant to negotiate a reduced settlement amount.

22.   A true and correct copy of the June 2, 2014 letter is attached hereto as Exhibit “D.”

23.   On or about June 16, 2014, Defendant sent Plaintiff a fourth letter regarding the Account,

      complete with return envelope and payment coupon, demanding she pay the sum of

      $11,584.52 or contact Defendant to negotiate a reduced settlement amount.

24.   A true and correct copy of the June 16, 2014 letter is attached hereto as Exhibit “E.”

25.   Defendant knew and in fact had actual knowledge that Plaintiff was previously the debtor

      in a bankruptcy case and that she had been granted a discharge and was therefore

      protected from any direct or indirect collection acts whatsoever by virtue of the

      injunction provided in 11 U.S.C. §524. In fact, in May of 2014, Defendant reported to

      Experian Credit Bureau (“Experian”) that the debt had been discharged.

26.   A true and correct copy of applicable portions of the Plaintiff’s Experian Credit Report is

      attached hereto as Exhibit “F.”

27.   Notwithstanding such knowledge about Plaintiff filing for bankruptcy protection and the

      subsequent discharge received in Plaintiff’s Bankruptcy Case, Defendant willfully: (1)

      called Plaintiff regarding the Account, and (2) sent Plaintiff statements and collection

      letters on the Account during the pendency of the Bankruptcy Case and after the

      bankruptcy discharge had been granted.




                                               5
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 6 of 14 PageID #: 6



28.   Defendant was aware that its collection activities would and did damage Plaintiff and her

      ability to enjoy life and her fresh start guaranteed by the U.S. Bankruptcy Code.

29.   The conduct of Defendant has proximately caused Plaintiff past and future monetary loss,

      past and future mental distress and emotional anguish and other damages that will be

      presented to the jury.

30.   Defendant knew and continues to know that a discharge order means the discharged debts

      are no longer collectible, but Defendant has made a corporate decision to willfully and

      maliciously act contrary to its knowledge in its calculated decision to violate Plaintiff's

      right to privacy by impermissibly accessing Plaintiff's credit reports after the discharge

      was granted in her Bankruptcy Case and the debt on the Account discharged.

31.   After a reasonable time for discovery, Plaintiff believes she will be able to show that all

      actions taken by employees, agents, servants, or representatives of any type for

      Defendant were taken in the line and scope of such individuals' (or entities') employment,

      agency, or representation.

32.   After a reasonable time for discovery, Plaintiff believes she will be able to show that all

      actions taken by Defendant at issue were performed maliciously, wantonly, recklessly,

      intentionally or willfully, and with either the desire to harm Plaintiff and/or with the

      knowledge that its actions would very likely harm Plaintiff and/or that its actions were

      taken in violation of the law.

33.   After a reasonable time for discovery, Plaintiff believes she will be able to show that

      Defendant has engaged in a pattern and practice of wrongful and unlawful behavior with

      respect to accounts and consumer reports, and Defendant is subject to punitive damages,



                                               6
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 7 of 14 PageID #: 7



      statutory damages, and all other appropriate measures to punish and deter similar future

      conduct by Defendant and similar companies.

34.   Since Defendant's illegal attempts to collect the discharged debt on the Account may

      continue after the filing of this suit, Defendant is liable for any and all future illegal

      attempts to collect the subject debt through phone calls, written correspondence, credit

      reporting and/or any other manner and method Defendant may engage in to further its

      collection attempts until the date of trial.

                         V. GROUNDS FOR RELIEF - COUNT I

               TEXAS FINANCE CODE - UNFAIR DEBT COLLECTION

35.   Plaintiff repeats, re-alleges, and incorporates by reference all paragraph above as if fully

      rewritten here.

36.   Defendant has violated the Texas Finance Code in numerous ways including, but not

      limited to, the following:

              a) Tex. Fin. Code § 392.301(a)(8), which prohibits Defendant from taking an

      action prohibited by law, since Defendant's attempts to collect the subject debt

      constituted a violation of the bankruptcy discharge injunction currently in place;

              b)    Tex. Fin. Code § 392.304(a)(8), which prohibits Defendant from

      misrepresenting the character, extent, or amount of Plaintiff's debt, or misrepresenting the

      status of Plaintiff's debt in a judicial or governmental proceeding, by continuing to call

      Plaintiff and send statements to her showing a balance due and enclosing a remittance

      coupon, Defendant was misrepresenting that the debt was collectable when it was not by

      virtue of the automatic stay or the discharge injunction; and



                                                     7
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 8 of 14 PageID #: 8



              c) Tex. Fin. Code § 392.304(a)(19), which prohibits Defendant's use of false

      representations or deceptive means to collect a debt, the continued sending of statements,

      demands for payment, and calls by Defendant to Plaintiff were deceptive means to collect

      a debt, since the automatic stay was in effect or the debt had already been discharged and

      was uncollectible.

37.   Under Tex. Fin. Code Ann. § 392.403, the said violations render Defendant liable to

      Plaintiff for actual damages, statutory damages, for injunctive relief, costs, and

      reasonable attorney's fees Plaintiff's injuries resulted from Defendant's gross negligence,

      malice, and/or actual fraud, which entitle Plaintiff to punitive damages.

38.   Due to Defendant's conduct, Plaintiff was forced to hire counsel and her damages include

      reasonable attorney's fees incurred in prosecuting this claim.

                           VI. GROUNDS FOR RELIEF - COUNT II

          VIOLATION OF THE BANKRUPTCY DISCHARGE INJUNCTION

39.   Plaintiff repeats, re-alleges, and incorporates herein all previous paragraphs above as if

      set forth herein in their entirety.

40.   At all times material to this proceeding, Defendant had actual knowledge of Plaintiff's’

      Bankruptcy Case and the discharge of the debt at issue in said case.

41.   Defendant failed to cease its debt collection activity on the account and debt at issue

      when it became aware that Plaintiff filed for bankruptcy protection and the debt had been

      discharged in their Bankruptcy Case, as evidenced by Defendant sending Plaintiff

      collection letters and repeatedly calling her.




                                                8
  Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 9 of 14 PageID #: 9



42.   Defendant’s aforesaid actions were willful acts and constitute efforts to collect

      discharged debt from Plaintiff in violation the discharge injunction of 11 U.S.C. §524(a).

      Defendant’s failure to comply with the aforesaid laws, in light of repeated notices from

      the Bankruptcy Court about Plaintiff’s Bankruptcy Case, the discharge of Plaintiff’s debt

      at issue and the legal effect of the discharge illustrates its contempt for Federal law and

      the discharge injunction.

43.   The actions of Defendant in repeatedly calling Plaintiff on her cell phone along with

      sending Plaintiff collection letters on the Account post-discharge constitute a gross

      violation of the discharge injunction as set forth in 11 U.S.C. § 362 and 524(a)(1)-(3).

44.   The facts and background stated above demonstrate that Defendant willfully violated the

      orders and injunctions of the Bankruptcy Court as they concern the Bankruptcy Case

      filed by Plaintiff. With this prima facie showing, the duty is on Defendant to show, as

      the only defense, a present inability to comply with the orders and injunctions of the

      Bankruptcy Court that goes beyond a mere assertion of inability. Failing a showing of a

      present inability to comply with the orders and injunctions of the Bankruptcy Court by

      Defendant, Plaintiff must prevail on her claims, and Defendant must be held liable for

      willfully violating the orders and injunctions of the Bankruptcy Court with regard to the

      bankruptcy filed by Plaintiff. Any defense put forth by Defendant in this proceeding can

      only constitute a good faith exception, as no other reasonable explanation can be made

      for the conduct and actions of Defendant. Any allegation of a good faith exception

      should not be allowed.




                                               9
Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 10 of 14 PageID #: 10



45.   Specifically, Defendant violated the part of the Bankruptcy Court’s Discharge Order

      pertaining to 11 U.S.C. §524(a)(2) which “operates as an injunction against the

      commencement, or continuation of an action, the employment of process, or an act, to

      collect, recover or offset any such debt as a personal liability of the debtors, whether or

      not the discharge of such debt is waived;…”’

46.   No exceptions exist under 11 U.S.C. §524 or the other provisions of the United States

      Bankruptcy Code or other applicable law that permit the conduct of Defendant at issue

      with regard to the discharge injunction, as stated above.

47.   The orders and injunctions of the Bankruptcy Court cannot be waived, except by the

      virtue of a properly filed and approved reaffirmation agreement, motion, stipulation or

      complaint. None of the aforementioned has been approved by the Court here, and no

      waiver of the orders or injunctions of the Court has occurred in Plaintiff's Bankruptcy

      Case as pertaining to the rights and remedies of Defendant.

48.   Also, there is no requirement of mitigation on the part of Plaintiff that is relevant to

      violations of the orders and injunctions of the Bankruptcy Court. Any attempt to burden

      Plaintiff with policing the misconduct of Defendant would be a complete derogation of

      the law. It is well settled that each party to an injunction or order of the Court is

      responsible for ensuring its own compliance with the injunction or order and for

      shouldering the cost of compliance. Any such defense would constitute a collateral

      attack on the injunctions and orders of the Bankruptcy Court in this proceeding, which is

      prohibited. Any defense put forth by Defendant in this case can only constitute a claim of




                                              10
Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 11 of 14 PageID #: 11



        mitigation, as no other reasonable explanation can be made for the conduct and action of

        Defendant. No allegation of a mitigation as a defense should be allowed.

49.     Plaintiff has been injured and damaged by Defendant’s actions and are entitled to recover

        judgment against Defendant for actual damages and punitive damages, plus an award of

        costs and reasonable attorney’s fees, for violations of 11 U.S.C. §524, and pursuant to the

        Court’s powers under 11 U.S.C. § 105.

                           VII. GROUNDS FOR RELIEF - COUNT 3

      VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT (“TCPA”)

50.     Plaintiff restates and reiterates herein all previous paragraphs.

51.     In the last few months preceding the filing of this Complaint, Defendant made and/or

        initiated a series of telephone calls to Plaintiff’s cell-phone.

52.     Defendant made and/or initiated a series of at least eight (8) telephone calls to the

        Plaintiff’s cell-phone between the date of her Discharge and the date of filing this

        complaint, (hereinafter referred to as the “Telephone Calls”).

53.     The Telephone Calls were placed by Defendant’s employees or agents.

54.     The Telephone Calls were initiated by an automatic dialing system.

55.     The telephone system utilized by Defendant to place the Telephone Calls has the

        capability to dial telephone numbers without human intervention.

56.     Defendant dialed the Plaintiff’s cell-phone using its telephone system and without human

        intervention.

57.     The Telephone Consumer Protection Act, 47 U.S.C. § 227 et. seq, (the “TCPA”),

        prohibits making “any call (other than a call made for emergency purposes or made with



                                                   11
Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 12 of 14 PageID #: 12



      the prior express of the called party) using any automatic telephone dialing system or an

      artificial or prerecorded voice” to “any telephone number assigned to a . . . cellular

      telephone service.” 47 U.S.C. § 227 (b)(1)(A)(iii).

58.   Congress delegated authority to the Federal Communications Commission (FCC) to

      promulgate implementing regulations. 47 U.S.C. §227 (b)(2).          In relevant part, the

      FCC’s implementing regulations provide: “No person . . . may (I) initiate any telephone

      call (other than a call made for emergency purposes or made with the prior express

      consent of the called party) using an automatic telephone dialing system or an artificial or

      prerecorded voice . . . (iii) To any telephone number assigned to a . . . cellular telephone

      service.”

59.   The TCPA creates a private federal cause of action. 47 U.S.C. §227(b)(3). A plaintiff

      who prevails in an action for damages under the TCPA is entitled to the greater of actual

      damages or $500 for each violation, plus additional damages up to the greater of $1,500

      or treble actual damages for each violation committed willfully or knowingly. 47 U.S.C.

      §227 (b)(3).

60.   The actions of Defendant in this case in repeatedly calling Plaintiff’s cell-phone violated

      the provisions of the TCPA for which Plaintiff seeks damages. Even if the call(s) did

      not connect to Plaintiff personally, the attempt to make the call was still a violation. See

      Manufacturers Auto Leasing, Inc. vs. Autoflex Leasing, Inc. 139 S.W.3rd 342, 347 (Tex.

      App.–Fort Worth 2004, pet denied) (citing FCC Enforcement Action Letter in Case No.

      EB-00TC-001).

61.   The Telephone Calls were willfully placed.



                                              12
Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 13 of 14 PageID #: 13



62.    The Telephone Calls were knowingly placed.

63.    The Telephone Calls were not made for emergency purposes.

64.    Plaintiff did not give her prior express consent to be called using an artificial or

       pre-recorded voice or by use of an automatic dialing system.

65.    Defendant called Plaintiff’s cell-phone over eight (8) times, during the times at issue, and

       left numerous voice messages instructing Plaintiff to call Defendant at a telephone

       number provided; these messages are hereinafter collectively referred to as the

       “Messages.”

66.    During the period beginning on May 12, 2014 and continuing through the present time,

       Defendant’s employees and agents have knowingly or willfully violated the TCPA by:

       (1) placing over eight calls to Plaintiff’s cell-phone; (2) using an automatic telephone

       dialer system; and/or (3) leaving an artificial or pre-recorded voice to deliver the

       Messages.

67.    The Telephone Calls adversely affect the privacy rights that the TCPA was intended to

       protect.

68.    Plaintiff has complied with all conditions precedent to bring this action.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Meredith Godoy, prays that the

Court will:

       A.     Enter judgment in favor of Plaintiff and against Defendant for statutory damages,

actual damages, costs, and reasonable and necessary attorney fees as provided by the TDCA, the

TCPA and for violations of the bankruptcy discharge injunction.




                                                13
 Case 4:14-cv-00563-DDB Document 1 Filed 08/27/14 Page 14 of 14 PageID #: 14



        C.      Find that appropriate circumstances exist for an award of punitive damages to

Plaintiff;

        D.      Award Plaintiff pre-judgment and post-judgment interest as allowed by law; and

        E.      Grant such other and further relief, in law or equity, to which Plaintiff might show

herself justly entitled.



                                               Respectfully submitted,

                                               _/s/ James J. Manchee__________________
                                                James J. Manchee
                                                Jim@mancheelawfirm.com
                                                State Bar Number 00796988
                                                Marilyn S. Altamira
                                                State Bar Number 00796119
                                                Maltamira@mancheelawfirm.net
                                                Manchee & Manchee, PC
                                                12221 Merit Drive, Suite 950
                                                Dallas, Texas 75251
                                                (972) 960-2240 (telephone)
                                                (972) 233-0713 (fax)

                                                ATTORNEYS FOR PLAINTIFF




                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

   8-27-14                                                 /s/ James J. Manchee
Date                                                   James J. Manchee




                                                  14
